22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                   Pg 1 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                   Pg 2 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                   Pg 3 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                   Pg 4 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                   Pg 5 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                   Pg 6 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                   Pg 7 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                   Pg 8 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                   Pg 9 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                  Pg 10 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                  Pg 11 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                  Pg 12 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                  Pg 13 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                  Pg 14 of 15
22-05003-cag Doc#9-1 Filed 06/22/22 Entered 06/22/22 08:27:12 Exhibits 1   2   &3
                                  Pg 15 of 15
